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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

)
In re Terrorist Attacks on September 11, 2001, ) 03 MDL No. 1570 (RCC)
) ECF Case

This document relates to:

BURNETT, et al. v. AL BARAKA INV. AND DEV. CORP., et al., Case No. 03-CV-9849 (RCC)
FEDERAL INSURANCE CO., et al, v. AL QAIDA, et al., Case No. 03-CV-6978 (RCC)

DECLARATION OF SAMIR SALAH IN SUPPORT OF HIS
MOTION TO VACATE DEFAULT JUDGMENTS

SAMIR SALAH, on this 18" day of January 2007, hereby declares pursuant to 28 U.S.C.
§ 1746, and under the penalties of perjury, that the following is true and correct:

1. I submit this declaration in support of my motion to vacate the default judgments
entered against me on April 7, 2006, in the above-referenced actions.

2. I am a citizen of the United States and reside in the Commonwealth of Virginia.

3. I have never supported al Qaeda, nor have I ever knowingly provided financial
support to any terrorist organizations.

4. I never saw the published legal notices of this litigation contained in the
International Herald Tribune, USA Today, and Al-Quds Al-Arabi.

5. I did not discover that I was a defendant in these actions until after the default

judgments had been entered against me.

" Samir Salah a af R0o}-
